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                   IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF HAWAI`I



 WAYNE FERGERSTROM,                             CIVIL NO. 13-00526 DKW-RLP
 individually and on behalf of all others
 similarly situated,                        ORDER (1) ADOPTING
                                            MAGISTRATE JUDGE’S
              Plaintiff,                    FINDINGS AND
                                            RECOMMENDATION DENYING
       vs.                                  PLAINTIFF’S MOTION FOR AN
                                            ORDER OF REMAND; AND (2)
 PNC BANK, N.A., a national banking         ADMINISTRATIVELY CLOSING
 association; DEREK W.C. WONG; and          CASE
 DOE DEFENDANTS 1-50,

              Defendants.



               ORDER (1) ADOPTING MAGISTRATE JUDGE’S
               FINDINGS AND RECOMMENDATION DENYING
             PLAINTIFF’S MOTION FOR AN ORDER OF REMAND;
                AND (2) ADMINISTRATIVELY CLOSING CASE


                                 INTRODUCTION

              Fergerstrom objects to a portion of the Magistrate Judge’s February 27,

 2014 Findings and Recommendation (“F&R”) denying his motion to remand.

 Because the Magistrate Judge correctly found that Fergerstrom’s proposed class

 exceeds 100 members, and because PNC timely asserted this Court’s jurisdiction


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 pursuant to the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d),

 the Court ADOPTS the Findings and Recommendation and overrules Fergerstrom’s

 objections.

                                   BACKGROUND

               Fergerstrom filed his complaint against PNC Bank, N.A., and attorney

 Derek W.C. Wong in Hawaii state court on September 9, 2013. On October 10,

 2013, PNC filed its Notice of Removal, contending that this Court has diversity

 jurisdiction under 28 U.S.C. § 1332. Although both Fergerstrom and Wong are

 citizens of Hawai‘i, PNC alleged that Wong was fraudulently joined to this action

 and his presence therefore does not defeat diversity. On November 7, 2013, PNC

 filed a Supplemental Jurisdictional Statement, asserting that this Court also has

 jurisdiction over this action pursuant to CAFA.

               Fergerstrom alleges a putative class consisting of:

               All consumers within the meaning of H.R.S. Chapter 480 who
               owned real property in Hawai‘i and who were subjected to a
               notice of foreclosure sale under H.R.S. § 667-5 prepared by
               Defendant Derek Wong or the law firm of Routh Crabtree &
               Olson by or on behalf of Defendant PNC (or NCB before its
               merger with PNC) claiming for PNC or NCB the rights of a
               mortgagee with a power of sale and as to whose property
               Defendant PNC or NCB thereby caused the sale or transfer of the
               property on or after September 9, 2009.




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 Complaint ¶ 12. He alleges that the number of mortgagors who fall within the class

 definition is “more than 50 and less than 100.” Id. ¶ 15.

              More specifically, the complaint alleges that Defendants “breached

 their duties to act in good faith to sell the properties to the owners’ best advantage

 and to use reasonable diligence to secure the best possible price” by adopting

 foreclosure policies and practices designed to deter public participation and “chill”

 bid prices at non-judicial foreclosure auctions. Id. ¶ 9. According to Fergerstrom,

 Defendants created a non-judicial foreclosure system that reduced competition

 between PNC and third-party bidders at auctions, allowing PNC to purchase

 properties on credit bid at lower prices. Id. ¶¶ 10-11, 24, 56, 64. Fergerstrom

 asserts that the sale procedures implemented by Defendants constitute unfair and

 deceptive acts or practices under Hawaii Revised Statutes (“HRS”) Chapter 480.

 Id. ¶¶ 38, 48-56.

              Fergerstrom filed a motion to remand on November 8, 2013. Because

 the Magistrate Judge concluded that the Court has CAFA jurisdiction over this

 matter, the Magistrate Judge did not address PNC’s alternative fraudulent joinder

 argument. The Magistrate Judge recommended that the Court deny the motion to

 remand and grant PNC’s Motion to Stay Pending Appeal of Related Cases.

 Fergerstrom objects to the portion of the F&R denying the motion to remand.


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                            STANDARD OF REVIEW

              When a party objects to a magistrate judge’s findings or

 recommendations, the district court must review de novo those portions to which the

 objections are made and “may accept, reject, or modify, in whole or in part, the

 findings or recommendations made by the magistrate judge.” 28 U.S.C.

 § 636(b)(1); see also United States v. Raddatz, 447 U.S. 667, 673 (1980); United

 States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003) (en banc) (“[T]he district

 judge must review the magistrate judge’s findings and recommendations de novo if

 objection is made, but not otherwise.”).

              Under a de novo standard, this Court reviews “the matter anew, the

 same as if it had not been heard before, and as if no decision previously had been

 rendered.” Freeman v. DirecTV, Inc., 457 F.3d 1001, 1004 (9th Cir. 2006); see also

 United States v. Silverman, 861 F.2d 571, 576 (9th Cir. 1988). The district court

 need not hold a de novo hearing. However, it is the Court’s obligation to arrive at

 its own independent conclusion about those portions of the magistrate judge’s

 findings or recommendation to which a party objects. United States v. Remsing,

 874 F.2d 614, 616 (9th Cir. 1989).




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                                     DISCUSSION

              Fergerstrom objects on the grounds that (1) the Magistrate Judge erred

 in concluding that Fergerstrom’s proposed class includes more than 100 members;

 (2) the assertion of CAFA jurisdiction was untimely; and (3) there was no fraudulent

 joinder of Defendant Wong. As discussed herein, the Court agrees with the

 Magistrate Judge that the class size satisfies CAFA’s numerosity requirement and

 that CAFA jurisdiction was timely asserted. The Court need not and does not reach

 Fergerstrom’s objection relating to fraudulent joinder.

 I.    Jurisdiction Pursuant to CAFA

       A.     CAFA

              CAFA vests federal district courts with original jurisdiction of any civil

 action in which (1) the aggregate number of proposed plaintiffs is one hundred or

 greater, (2) any member of the plaintiff class is a citizen of a state different from any

 defendant, and (3) the amount in controversy exceeds the sum or value of $5 million,

 exclusive of interest and costs. 28 U.S.C. § 1332(d); Standard Fire Ins. Co. v..

 Knowles, 133 S. Ct. 1345, 1348 (2013). The second element requires only

 “minimal diversity.” See Serrano v. 180 Connect, Inc., 478 F.3d 1018, 1024 (9th

 Cir. 2007); 28 U.S.C. § 1332(d)(2).




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              Fergerstrom does not object to the Magistrate Judge’s finding that the

 minimal diversity and $5 million amount in controversy requirements have been met

 here. The only issue is numerosity of the class—whether the Magistrate Judge

 erred in concluding that the proposed class size exceeds 100.

       B.     The Numerosity Requirement Has Been Satisfied

              Fergerstrom defines his proposed class as consumers “subjected to a

 notice of foreclosure sale under H.R.S. § 667-5” on behalf of “Defendant PNC (or

 NCB before its merger with PNC) claiming for PNC or NCB the rights of a

 mortgagee with a power of sale and as to whose property Defendant PNC or NCB

 thereby caused the sale or transfer of the property on or after September 9, 2009.”

 Complaint ¶ 12. He contends that the proposed class consists of 90 members. See

 Objections at 2.

              In order to reach his count, however, Fergerstrom excludes the

 following mortgagors from his proposed class: i) 26 mortgagors where PNC acted as

 the loan servicer for a mortgagee other than itself, rather than as the mortgagee

 (Sales Nos. 75-91); ii) 9 mortgagors whose mortgagee was National City Real Estate

 Services, LLC (“NCRES”) (Sales Nos. 17, 70-73); and iii) 2 mortgagors in a sale

 conducted by RCO Hawaii, the current incarnation of Wong’s law firm, previously

 known as Routh Crabtree & Olson (Sales No. 74). The Magistrate Judge found


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 these exclusions to be inconsistent with Fergerstrom’s own class definition. The

 Magistrate Judge further determined that when accounting for these improperly

 excluded mortgagors, CAFA’s 100-person numerosity requirement was easily met.

 The Court reviews each of these categories of mortgagors in turn.1

               1. Sales In Which PNC Was The Loan Servicer,
                  Not The Mortgagee

               Fergerstrom objects to the inclusion of 26 mortgagors where PNC

 conducted the foreclosure sale as a loan servicer, not as the listed mortgagee (Sale

 Nos. 75-91). The Notices of Sale in these instances listed the mortgagee invoking

 the power of sale as “C/O” various PNC or National City entities, and listing the

 mortgagee’s address as the headquarters of what is now PNC Mortgage. See PNC

 Response at 23; Objections at 18-19 (listing associated entities and address).

               Even if PNC acted solely as the loan servicer in these sales as

 Fergerstrom alleges, the mortgagors are included in the class as defined. Under

 Fergerstrom’s proposed definition, the relevant sales notices need only be prepared

 on behalf of PNC or NCB “claiming for PNC or NCB the rights of a mortgagee.”

 Compl. ¶ 12 (emphasis added). Here, PNC claimed the rights of the mortgagees in


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  There are an additional 15 mortgagors whom Fergerstrom excluded from his class definition
 because they lacked standing. Although the Magistrate Judge did not examine these additional
 exclusions because they were unnecessary to the CAFA numerosity count, this Court addresses the
 propriety of certain of these exclusions, infra.

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 the notices. Fergerstrom’s definition does not limit the class to notices issued

 where PNC or NCB is itself the mortgagee. Accordingly, the 26 mortgagors

 associated with these sales are properly included in the proposed class. See Dkt.

 No. 56 at 11-12. These 26 class members alone bring the proposed class above the

 CAFA threshold.

              2.    Foreclosure Sales Conducted In The Name Of NCRES

              The Magistrate Judge correctly included nine mortgagors as proposed

 class members whose sales were brought by PNC in the name of NCRES (Sales

 Nos. 17 and 70-73). Dkt. No. 56 at 12. NCRES was a wholly-owned subsidiary of

 NCB, which merged into PNC Bank, N.A. NCRES likewise is a wholly-owned

 affiliate whose sole member was PNC at the time of the sales in 2010. See

 Cunningham Decl. ¶ 2 and attached Exhibits. Accordingly, the NCRES

 foreclosures were brought on behalf of PNC or NCB, and these nine mortgagors fall

 within the proposed class definition.

              3.    Foreclosure Sale By Another RCO Hawaii Attorney

              Fergerstrom objects to the inclusion of two mortgagors involved in a

 foreclosure sale in which the notice was not signed by Wong (Sales No. 74).

 Although the Notice of Sale was signed by a different attorney at RCO Hawaii,

 LLLC, Wong was responsible for the service and posting of the Notice of Sale and


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 he conducted the sale. See Wong Affidavit of Sale (Dkt. No. 52-1). The

 Magistrate Judge noted that Wong was an attorney for the Routh, Crabtree & Olson

 law firm both when it was previously known as “Routh Crabtree Olsen, P.S.” and

 the current entity “RCO Hawaii, LLLC.” The Court agrees that Sales No. 74 is

 properly included within the defined class because the Notice of Sale was prepared

 by RCO Hawaii, LLLC, the current iteration of the Routh Crabtree & Olson firm

 that has employed Defendant Wong since at least May 2009. See Dkt. No. 56 at 13.

 Accordingly, the two related mortgagors are members of the putative class. These

 two, together with the nine mortgagors involved in the NCRES foreclosures (Sales

 Nos. 17 and 70-73), satisfy the CAFA numerosity threshold, even if the Court were

 to exclude the other groups of mortgagors urged by Fergerstrom (i.e., sales where

 PNC acted as loan servicer and mortgagors in bankruptcy).

             4.     Class Members Involved in Bankruptcy Proceedings

             Fergerstrom contends that 11 mortgagors should be excluded for lack

 of standing because they filed for bankruptcy following the foreclosure sale, and,

 accordingly, their claims are the property of the bankruptcy estates. The Magistrate

 Judge did not reach this issue because he had already found the CAFA threshold was

 met. Dkt. No. 56 at 14.




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              The Court agrees with PNC that putative class members who have

 declared bankruptcy should be counted for CAFA purposes. As Fergerstrom

 acknowledges, bankrupt class members’ claims can proceed with the consent of the

 trustee. See Objections at 22. Here, there has been no class notice or class

 certification to date. For purposes of the threshold jurisdictional

 determination—rather than certification—there is no compelling reason to exclude

 these mortgagors. As noted by PNC, these class members may have post-discharge

 damages, which remain with the debtor, rather than the estate. That is consistent

 with Fergerstrom’s allegations of continuing damages based on the deprivation of

 the rental value of the property from the date the mortgagors lost possession. See

 Complaint ¶ 40. Moreover, it may be possible for absent debtor class members to

 reopen their bankruptcy cases to seek to be part of the class. Therefore, these 11

 debtors should be counted as members of the putative class, which alone would

 bring the proposed class count above the CAFA threshold.

       C.     PNC’s Timely Assertion of CAFA Jurisdiction

              Fergerstrom objects to PNC’s assertion of CAFA jurisdiction after the

 initial 30-day removal window. PNC filed its Notice of Removal on October 10,

 2013, based on a fraudulent joinder theory. On November 7, 2013, PNC filed a

 Supplemental Jurisdictional Statement asserting that this Court also has jurisdiction


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 over this action under CAFA. Fergerstrom argues that the Supplemental

 Jurisdictional Statement is untimely under 28 U.S.C. §§ 1446(b)(1) and (b)(3). The

 Magistrate Judge, relying on Roth v. CHA Hollywood Medical Center, L.P., 720

 F.3d 1121 (9th Cir. 2013), and Rea v. Michaels Stores, Inc., 742 F.3d 1234 (9th Cir.

 2014), found that PNC’s assertion of CAFA jurisdiction was timely because the

 complaint was indeterminate as to CAFA jurisdiction, and PNC promptly asserted it

 after conducting an investigation that revealed its basis. Indeed, as noted in the

 F&R, Fergerstrom affirmatively alleged that the proposed class included “less than

 100 persons” in an effort plainly designed to thwart CAFA jurisdiction. Complaint

 ¶ 15.

              The removal statutes generally require a party to remove a case within

 30 days of receiving the complaint. See 28 U.S.C. § 1446, 1453(b). The statutes

 provide an exception to this rule: “if the case stated by the initial pleading is not

 removable, a notice of removal may be filed within 30 days after receipt by the

 defendant, through service or otherwise, of a copy of an amended pleading, motion,

 order or other paper from which it may first be ascertained that the case is one which

 is or has become removable.” Id. § 1446(b)(3). The Ninth Circuit recently held:

              in Roth v. CHA Hollywood Medical Center, L.P., that the two
              30-day periods are not the exclusive periods for removal. 720
              F.3d 1121, 1124-25 (9th Cir. 2013). In other words, as long as


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              the complaint or “an amended pleading, motion, order or other
              paper” does not reveal that the case is removable, the 30-day
              time period never starts to run and the defendant may remove at
              any time.

 Rea, 742 F.3d at 1238.

              “[A] defendant does not have a duty of inquiry if the initial pleading or

 other document is ‘indeterminate’ with respect to removability. Thus, even if a

 defendant could have discovered grounds for removability through investigation, it

 does not lose the right to remove because it did not conduct such an investigation

 and then file a notice of removal within thirty days of receiving the indeterminate

 document.” Roth, 720 F.3d at 1125. Here, the Court agrees that grounds for

 removal could not be determined from the face of the complaint because

 Fergerstrom affirmatively alleged there were “less than 100” homeowners in his

 proposed class. PNC timely invoked CAFA jurisdiction upon investigating and

 discovering that Fergerstrom’s allegation regarding the number of proposed class

 members was incorrect. Thus, under Ninth Circuit case law, PNC may assert the

 supplemental grounds for removal, even though more than thirty days had passed

 since being served with the complaint.




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 II.    Fraudulent Joinder

             The Magistrate Judge did not reach PNC’s alternate ground for

 removal—fraudulent joinder. The Court likewise does not reach this issue.

 Whether Wong was properly joined does not affect CAFA jurisdiction and therefore

 need not be addressed here. See Serrano, 478 F.3d at 1024 (explaining that

 “minimal diversity” suffices under CAFA).

 III.   PNC’s Motion to Stay

             Fergerstrom does not object to the portion of the F&R granting PNC’s

 request to stay this matter pending appeals in related cases. Accordingly, the Court

 ADOPTS this portion of the F&R.

                                  CONCLUSION

             On the basis of the foregoing, and after careful de novo review and

 consideration of the Findings and Recommendation and record in this matter, the

 Court hereby OVERRULES Fergerstrom’s Objections and ADOPTS the Magistrate

 Judge’s February 27, 2014 Findings and Recommendation to (1) Deny Plaintiff’s

 Motion for an Order of Remand and (2) Grant PNC’s Motion to Stay Pending

 Appeal of Related Cases.

             The case is hereby stayed and ordered administratively closed. It may

 be reopened by the Clerk of Court, without payment of any further filing fee, upon


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 issuance of the Ninth Circuit’s mandates in the pending, related appeals or upon

 further order of this Court. The parties shall notify the Court within ten (10) days

 following the disposition of any related appeal. The administrative closing of this

 case is solely an administrative matter and does not impact, in any manner, any

 party’s rights or obligations, has no impact on any limitation period, and does not

 alter in any manner any previous rulings by the Court.

              IT IS SO ORDERED.

              DATED: HONOLULU, HAWAI‘I, April 25, 2014.




 Wayne Fergerstrom v. PNC Bank et al.; CV 13-00526 DKW-RLP; ORDER (1)
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